Van−023 [Notice of Telephonic Hearing] (03/21)

                        UNITED STATES BANKRUPTCY COURT
                 NORTHERN DISTRICT OF ALABAMA, SOUTHERN DIVISION


In re:                                                                            Case No. 19−04693−TOM7
Briana Wilson Nealey                                                              Chapter 7
SSN: xxx−xx−2974
Christopher Emil Nealey
SSN: xxx−xx−6260
         Debtor(s)

                                    NOTICE OF TELEPHONIC HEARING
     Notice is hereby given that a telephonic hearing will be held in the above−referenced case on Monday, October
4, 2021 at 10:30 AM to consider and act upon the following:

42 − Application for Final Compensation in the amount of $36,000.00. and Reimbursement of Expenses in the
amount of $872.95 filed by W. Whitney Seals, John C. Hubbard and D. Dirk Thomas, special counsel for Debtor

45 − Trustee's Motion to Approve Compromise and/or Settlement Regarding wrongful repossession and violations of
Fair Debt Collection Practices Act

The original application is available for viewing in the Office of the Clerk during regular business hours.

Objections may be made by filing the original with the Court no later than September 27, 2021. and a copy served on
W. Whitney Seals, Cochrun & Seals, LLP, P.O. Box 10448
Birmingham, AL 35202−0448; John C Hubbard, P. 0. Box 953; Birmingham, AL 35203 and D. Dirk Thomas, Frank
S. Buck, P.C., P. 0. Box 55089, Birmingham, AL 35255−5089. Any such objections filed will be heard October 4,
2021

        The hearing will be held via an AT&T call−in number. The dial−in number is 1−877−336−1280. When
prompted, enter the access code 2653346#. There is no security code, and please do not select any other feature.
Other cases or matters may be scheduled for telephonic hearing at the same time. Parties should call in five minutes
prior to the start of the hearing. Once connected, please mute your phone until your case is called. After your hearing
is completed, please hang up to end your call. To avoid disruption, telephonic hearing participants are expected to call
from a quiet location and are not permitted to use a "speaker" function or to place the call on hold (as this may cause
music or other noises to play during the hearings of other participants). Participants are encouraged to call from a
landline if possible.

      THIS HEARING WILL TAKE PLACE BY TELEPHONE ONLY. DO NOT COME TO THE
COURTHOUSE. PLEASE SEE THE COURT'S WEBSITE FOR ADDITIONAL INFORMATION
(www.alnb.uscourts.gov).

Dated: September 1, 2021                                     By:

                                                             Joseph E. Bulgarella, Clerk
                                                             United States Bankruptcy Court
mwb




     Case 19-04693-TOM7               Doc 47 Filed 09/01/21 Entered 09/01/21 11:17:14                   Desc Ntc
                                      of Tele Hrg (Enter Matter) Page 1 of 1
